UNITED STATES BANKRUPTCY COURT

EASTERN DISTRICT OF NEW YORK

X

In Re: Chapter l l

 

DOREEN HOFFMAN, Case No. 8-18-72852-reg
Debtor(s)

 

X

LOSS MITIGATION REQUEST - BY DEBTOR

I am a Debtor in this case. I hereby request to enter into the Loss Mitigation Program
, With respect to [Identifv the property, loan and creditor(s) for which you are requesting
loss mitigation]:

163 Roe Avenue, Patchogue, NY 11272

x t;_gq§ [Identzfv the Proper¢_'V]

[Last 4 Di'§its o Loan Nu_mber
Rushmore Loan Management, PO ox 2708, Irvme, A 92619

[Creditor’s Name and Address]

 

 

SIGNATURE

I understand that if the Court orders loss mitigation in this case, I will be expected to
comply with the Loss Mitigation Procedures. I agree to comply with the Loss Mitigation
Procedures, and I will participate in the Loss Mitigation Program in good faith. I
understand that loss mitigation is voluntary for all parties, and that I am not required to
enter into any agreement or settlement with any other party as part of entry into the Loss
Mitigation Program. I also understand that no other party is required to enter into any
agreement or settlement With me. I understand that I am not required to request dismissal
of this case as part of any resolution or settlement that is offered or agreed to during the
Loss Mitigation Period.

  

 

 

 

 

Sign; /s/ Doreen HoffmaxL Date; June 22 , 2018
[First and Last Name]
Telephone Number: 63 1-464-63 04
[i.e. 999-999-9999]

E-mail Address [if any]: dhOffmanlS@smail-¢Om

 

 

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

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Princeton, New Jersey 08540
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Proposed Co-counsel for the Debtor-in~Possession

 

 

In re:

DOREEN HOFFMAN,

Debtor-in-Possession.

 

 

Case No.: 8-18-72852-reg
Chapter 1 l

Judge: Hon. Robert E. Grossman

DEBTOR'S DECLARATION
IN SUPPORT OF REQUEST FOR LOSS MITIGATION

STATE OF NEW YORK )
) ss.:
COUNTY OF SUFFOLK )

I, DOREEN HOFFMAN, declare as follows:

l. I am the individual Chapter ll Debtor-in-Possession in this case, and as suchl am

familiar with the facts of this Declaration, which I submit in support of my Request for

Loss Mitigation, as filed herewith.

2. My residence is located at 163 Roe Avenue, Patchogue, New York l 1772 . l believe it
would be in the best interest of creditors and the debtor’s estate to pursue a Loan
Moditication for that real property, amid the structure and supervision afforded by this
Court’s Loss Mitigation Procedures.

3. l am prepared to comply with the requirements of the Loss Mitigation Program

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Procedures, l am eager to enter into and conclude a good faith Loan Moditication
process, and I respectfully submit that the entry of a Loss Mitigation Order by this Court
will enable that process, and Will be in the best interest of all parties.

Pursuant to 28 U.S.C section 1746, I declare under the penalty of perjury that the

forego ing is true and correct.

/s/ Doreen l-loflinan
Doreen I-Ioffman
Dated: June 22, 2018 Debtor-in-Possession

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